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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   U NITED S TATES OF A MERICA
         v.                                      Criminal Action No.

   J ARED W HEAT ,                               1:17-CR-0229-AT-CMS
   J OHN B RANDON S CHOPP , AND
   H I -T ECH P HARMACEUTICALS , I NC .

  Government’s Reply in Support of Motion To Disqualify Bruce S. Harvey


   The United States of America, by Byung J. Pak, United States Attorney, and

Nathan P. Kitchens, Cassandra J. Schansman, and Kelly K. Connors, Assistant

United States Attorneys for the Northern District of Georgia, hereby files this

reply in support of the motion to disqualify Bruce S. Harvey as counsel for

defendant Jared Wheat.

   Eleventh Circuit precedent precludes Mr. Harvey from representing Wheat

due to an actual conflict of interest arising from his prior representation of C.S.,

who has been repeatedly identified as a likely government witness and subject of

the government’s investigation. Mr. Harvey concedes, as he must, that his prior

representation of C.S. was “obviously substantially related” to the prosecution of

Wheat and that he “received relevant confidential information” through his prior

representation, (Doc. 120 at 19), but he contends that this prior representation
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poses no conflict to representing Wheat because he has not shared any of C.S.’s

confidences with Wheat. (Id. at 16, 20). This contention only highlights the very

risk of divided loyalties that requires his disqualification: by protecting C.S.’s

confidences and upholding his duty of confidentiality to his prior client, Mr.

Harvey is withholding relevant information about a government witness from

Wheat and thus potentially violating his duty of loyalty to his current client.

Binding precedent establishes that divided loyalties arising from the successive

representation of a defendant and government witness creates an intractable

conflict of interest that requires disqualification, regardless of any waivers. (Doc.

88 at 8, 14–16). Accordingly, Mr. Harvey has an unwaivable conflict of interest

that implicates the Court’s independent interest in the fair administration of

justice, and the motion to disqualify should be granted.

                                     ARGUMENT


1. Mr. Harvey’s admissions regarding his representation of C.S. establish a
   conflict of interest from successive representation of Defendant Wheat that
   requires disqualification under binding precedent and local rules.

   A. Mr. Harvey concedes that his prior representation of C.S. was
      “substantially related” to Wheat’s prosecution, establishing an actual
      conflict resulting from C.S.’s role as a government witness.
   Although Mr. Harvey contends that he has neither an actual nor potential

conflict of interest arising from his representation of C.S., Mr. Harvey’s

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concessions about the scope of that prior representation of a government witness

establish, on their face, an actual conflict of interest. Mr. Harvey acknowledges

that the “matter of C.S.’s representation during the Government’s interview is

obviously substantially related that of Mr. Wheat.” (Doc. 120 at 19). Mr. Harvey

further concedes that emails sent to and from C.S. “may be relevant to some of

[the government’s] claims” against Wheat. (Id. at 15). And Mr. Harvey admits

that he “received relevant confidential information” in his prior representation of

C.S. (Id. at 19). In light of C.S.’s status as a likely government witness, these

admissions collectively establish a clear conflict of interest under Eleventh

Circuit precedent and the Georgia Rules of Professional Responsibility.

   The Eleventh Circuit recognizes that “[t]he need for fair, efficient, and orderly

administration of justice overcomes the right to counsel of choice where an

attorney has an actual conflict of interest, such as when he has previously

represented a person who will be called as a witness against a current client at a

criminal trial.” United States v. Ross, 33 F.3d 1507, 1523 (11th Cir. 1994). The

inquiry into a disqualifying conflict in such circumstances turns on one issue:

whether the prior representation was substantially related to the successive

matter. As the Eleventh Circuit noted in Ross, the “goal” of “examin[ing] whether

the subject matter of the first representation is substantially related to that of the

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second” is to “discover whether the defense lawyer has divided loyalties that

prevent him from effectively representing the defendant.” Id.; see also United

States v. Henry, 307 F. App’x 331, 334 (11th Cir. 2009) (“When a witness at trial

was defended by an attorney representing the defendant against charges related

to an identical crime, the attorney has an ‘actual’ conflict of interest”); United

States v. McCutcheon, 86 F.3d 187, 189 (11th Cir. 1996). The existence of

“substantially related” subject matters is determinative of a disqualifying conflict

because the Eleventh Circuit “irrebutably presume[s]” that counsel possesses

“relevant confidential information” arising from the prior representation. See

Henry, 307 F. App’x at 33. When a defense counsel possesses relevant

confidential information concerning a “substantially related” matter, the defense

counsel is inevitably placed in an impossible dilemma of choosing between the

duty of confidentiality owed to the government witness and the duty of loyalty

owed to the defendant. The conflict is even starker here when Mr. Harvey

represented a government witness in the identical matter, the alleged forgery of

certificates and audit reports, for which he is defending Wheat.

   The Eleventh Circuit’s interpretation of a disqualifying conflict of interest is

consistent with the governing Georgia Rules of Professional Conduct. See NDGA

Local Rule 83.1C. Those rules prohibit a lawyer from representing another client

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“in the same or substantially related matter in which that person’s interests are

materially adverse” and recognize that an unwaivable conflict exists if the

representation “[i]ncludes the assertion of a claim by one client against another

client represented by the lawyer in the same or substantially related proceeding

or [] involves circumstances rendering it reasonably unlikely that the lawyer will

be able to provide adequate representation to one or more of the affected

clients.” Ga. R. Prof’l Conduct 1.7(c)(2)–(3), 1.9(a). While Mr. Harvey repeatedly

contends that his prior representation poses no materially adverse effect to

Wheat, courts interpreting these rules recognize that the prior representation of a

government witness in a substantially related matter creates “at least a serious

potential for a conflict of interest, which ethically bar[s] defense counsel from

representing [defendant] at the trial.” Edwards v. State, 784 S.E.2d 924, 929 (Ga.

Ct. App. 2016) (affirming disqualification of defense counsel, even after jury was

impaneled, when defense counsel knew confidences of government witness from

prior representation) (citing Rule 1.7); see also United States v. Scott, No. 2:05-CR-

01-WCO, 2007 WL 2121644, at *2–3 (N.D. Ga. July 24, 2007) (finding an

unwaivable conflict under Rule 1.7(c)(3) based on counsel’s prior representation

of government witness). A government witness in a criminal prosecution is

intrinsically adverse to the defendant, and prior representation of that witness in

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a “substantially related” matter creates a disqualifying conflict. See Ga. R. Prof’l

Conduct 1.7, cmt. 2 (“Loyalty to a client is impaired when a lawyer cannot

consider, recommend or carry out an appropriate course of action for the client

because of the lawyer’s other competing responsibilities or interests. The conflict

in effect forecloses alternatives that would otherwise be available to the client.”).


   B. Mr. Harvey’s contention that C.S. will not be an adverse government
      witness is unavailing.
   Faced with binding precedent establishing his conflict of interest, Mr. Harvey

resorts to misrepresenting the government’s position, repeatedly suggesting that

the government contends that a conflict arises based solely on C.S.’s status as a

subject of the investigation.1 (Doc. 120 at 4, 10–11). When not ignoring C.S.’s

status as a likely government witness, Mr. Harvey does his best to dismiss the

possibility that C.S. may testify by contending that the government has not

“affirmatively stated on the record that the Government has made any decision

to definitely call C.S. as a Government witness.” (Id. at 11). But the government




   1 While the government’s argument is based primarily on C.S.’s status as a
government witness, C.S.’s status as a subject means that “circumstances could
arise where he would be charged.” (Doc. 57 at 2). C.S.’s status thus raises the
prospect of dual representation if C.S. were charged as an additional defendant,
which poses an even “more dangerous conflict.” Scott, 2007 WL 2121644, at *2.

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has told Mr. Harvey and this Court on at least three occasions that it expects to

call C.S. as a government witness. (Doc. 57 at 2–3; Doc. 90; Doc. 88 at 1).

   Nothing more is required at this point—the mere likelihood that C.S. will be

called as a government witness poses an intractable conflict for Mr. Harvey. See

McCutcheon, 86 F.3d at 189 (affirming disqualification of defense counsel on first

day of trial given possibility that former client would testify against defendant,

even though former client did not ultimately testify). Although the “likelihood

and dimensions of nascent conflicts of interest are notoriously hard to predict,”

the Supreme Court requires trial courts to assess conflicts in this “murkier

pretrial context” and thus recognizes that district courts have “substantial

latitude in refusing waivers of conflicts of interest . . . in the more common cases

where a potential for conflict exists which may or may not burgeon into an actual

conflict as the trial progresses.” Wheat v. United States, 486 U.S. 153, 162–63, 108 S.

Ct. 1692, 1699 (1988). Waiting to see if the likelihood of C.S.’s testimony develops

into a certainty closer to trial is not only improper under Wheat, but also would

risk potential harm to Wheat if Mr. Harvey were disqualified during trial.

   At best, Mr. Harvey urges the court not to disqualify him because he

personally believes that C.S.’s testimony will not be materially adverse to Wheat.

(Doc. 120 at 15–17). But the Wheat Court expressed skepticism about a defense
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attorney’s ability to assess conflicts based on their own beliefs about likely

testimony, cautioning that “[i]t is a rare attorney who will be fortunate to learn

the entire truth from his own client, much less be fully apprised before trial of

what each of the Government’s witnesses will say on the stand.”2 486 U.S. at 163,

108 S. Ct. at 1699.

   The record here shows that this skepticism is well-grounded. Although C.S.

denied in one proffer session that he prepared GMP certifications or GMP audit

reports, the email records referenced in the government’s motion tell a different

story. (Doc. 88 at 3–4). The emails referenced in the search warrant affidavit for

C.S.’s personal email account, as well as other email documents in discovery,

establish that Wheat emailed C.S. links to sample GMP certificates in early 2011,

and that C.S. later sent Wheat at least one unsigned GMP certificate, which

falsely identified G.G. as the General Manager of PharmaTech, as alleged in Para.

11 of the indictment. (Doc. 88 at 3; Doc. 7 ¶ 11). Another email sent by Wheat to




   2 Mr. Harvey cites Ferrell v. Hall, 640 F.3d 119 (11th Cir. 2011), for the
proposition that courts generally defer to the defense counsel’s judgment
concerning a conflict, (Doc. 120 at 12), but the Ferrell Court was merely reviewing
the reasonableness of “the trial court’s inquiry into the conflict” on habeas review,
not endorsing a position that trial courts should defer to defense counsel’s
judgment, which would be contrary to Wheat. Id. at 1242–43.

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C.S. attached a sample GMP audit report with the message “I will be back there

in a minute.” (Doc. 44, Ex. C ¶ 9). C.S. performed graphic design work for Hi-

Tech and would have had no clear role in conducting a GMP audit. (Doc. 88 at 3).

   Mr. Harvey does not suggest that these communications with C.S. are

anything but inculpatory; he concedes that such emails “may be relevant to some

of [the government’s] claims” against Wheat. (Doc. 120 at 15). But Mr. Harvey

suggests that C.S. only shared confidential information with him that was

“exculpatory in nature,” consistent with the proffer. (Id. at 16, 19). If C.S.’s

testimony at trial differs from statements made in his proffer or shared in

confidence with Mr. Harvey, however, Mr. Harvey faces the exact peril of

divided loyalties that the Eleventh Circuit has found disqualifying: he cannot

cross-examine C.S. regarding confidences gleaned from his prior representation,

but failing to cross-examine C.S. regarding this information would violate his

duty of loyalty to Wheat. See United States v. Campbell, 491 F.3d 1306, 1311 (11th

Cir. 2007); Ross, 33 F.3d at 1523. Mr. Harvey simply cannot establish that C.S.’s

interests as a government witness will be aligned with Wheat’s interests based on

this record and thereby overcome precedent establishing his conflict of interest.3



   Mr. Harvey cites two out-of-district cases, United States v. Hanania, 989 F.
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Supp. 1187 (M.D. Fla. 1997) and United States v. DeCay, 406 F. Supp. 2d 679 (E.D.
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2. The Court’s independent institutional interests in protecting the fair,
   ethical administration of justice require the refusal of any waivers and
   alternatives to disqualification of Mr. Harvey.
   Mr. Harvey contends that even if he has a conflict of interest, the Court

should accept his clients’ waiver of their right to conflict-free counsel, and any

divided loyalties could be cured by having Wheat’s co-counsel cross-examine

C.S. Both arguments are contrary to binding Eleventh Circuit precedent.

   As a preliminary matter, the government has no ability to assess the validity

of the Garcia waivers in this case.4 For purposes of this motion, the government



La. 2005), for the proposition that disqualification is unnecessary “in cases
similar to the one at bar.” (Doc. 120 at 17–18). In both cases, however, the district
courts found no actual conflict because the testimony of their prior clients
incriminated co-defendants, not defense counsel’s current clients. Hanania, 989 F.
Supp. at 1191; DeCay, 406 F. Supp. 2d at 686–87. While the Hanania Court noted
that one aspect of the prior client’s testimony could “indirectly implicate”
counsel’s current client, this part of his testimony was uncontested, but the court
was still “concerned about his ability to effectively cross-examine” the prior
client. 989 F. Supp. at 1191.
   Here, C.S.’s testimony would squarely concern Wheat’s conduct alleged in
Counts One through Three of the indictment. Mr. Harvey’s own cited authority
recognizes that an actual conflict issue arises if the prior client’s testimony
directly concerns a current client’s conduct. See DeCay, 406 F. Supp. 2d at 686–87
(acknowledging that counsel “would have a problem” if he sought to represent
the co-defendant implicated in his prior client’s testimony because “their
interests would be materially adverse”).
   4The government has a redacted copy of the response brief omitting all
quotations to the Garcia hearing.

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will assume that Mr. Harvey’s representations about the validity and

completeness of those waivers are accurate. (Doc. 120 at 27). But such waivers are

without force given the unfairness implicit in Mr. Harvey’s intractable conflict.

   While Mr. Harvey contends that courts should hesitate to refuse conflict

waivers given a defendant’s “presumptive right to counsel of choice,” (id. at 24),

disqualification of Mr. Harvey as co-counsel will not deprive Wheat of his first

counsel of choice: Bruce Morris. Mr. Harvey does not contest that Mr. Morris’s

ability to continue his representation as Wheat’s first chosen counsel lessens the

argument for prejudice resulting from Mr. Harvey’s disqualification. (Doc. 88 at

20). Under these unique circumstances, it is questionable whether any sixth

amendment rights are affected by disqualification of co-counsel. Henry, 307 F.

App’x at 335 (recognizing that defendant still “was able to receive his choice of

representation with respect to one of his attorneys” after disqualification of co-

counsel); see also United States v. Stuckey, 917 F.2d 1537, 1543 (11th Cir. 1990)

(holding that disqualification of co-counsel did not deny sixth amendment rights

when original counsel represented defendant at trial).

   As Mr. Harvey acknowledges, courts are bound to refuse conflict waivers if

necessary to protect their independent interest “in ensuring that criminal trials

are conducted within the ethical standards of the profession and that legal
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proceedings appear fair.” (Doc. 120 at 24). Binding precedent holds that conflict

waivers must be refused in similar circumstances in which a conflict arising from

the prior representation of a government witness in a substantially related matter

strikes at the heart of the court’s concern for the ethical administration of justice.

See Wheat, 486 U.S. at 164, 108 S. Ct. at 1700; Ross, 33 F.3d at 1524; Scott, 2007 WL

2121644, at *3; see also Edwards, 784 S.E.2d at 927 (recognizing that defendant’s

waiver “does not always cure the problem” because of court’s independent

interest in protecting ethical standards (citation omitted)).

   Mr. Harvey cannot rebut the reasoning in these cases, so he instead attempts

to distinguish them on the facts given his “limited and fleeting” representation of

C.S. (Doc. 120 at 21–22). But the courts in Wheat, Ross, and Scott nowhere discuss

the duration of counsel’s prior representation of the witness or otherwise suggest

that this is a factor, and there is no basis to compare the prior representation in

those cases to the three-month representation of C.S. here. (Doc. 88 at 4). Mr.

Harvey cites no authority for his claim that the length of his prior representation

eliminates the concern with divided loyalties. To the contrary, the Georgia Rules

of Professional Conduct recognize an ongoing duty of confidentiality after the

termination of the attorney-client relationship. See Ga. R. Prof’l Conduct 1.6(e).

Accordingly, counsel owe the same duty of confidentiality to former clients no

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matter the length of the initial representation. Mr. Harvey’s duties owed to C.S.

are thus lifelong, not “limited and fleeting,” and are indistinguishable from the

duties creating unwaivable conflicts in Wheat, Ross, and Scott.5

    Against this line of binding precedent, Mr. Harvey offers only out-of-district

authorities that fail to consider the issue of the court’s independent interest in

ethical standards,6 with one exception. (Doc. 120 at 25–26). In United States v.

Wings, No. 1:05-CR-316-20-BBM, 2007 WL 9676968, at *4–5 (N.D. Ga. Aug. 10,



    5Mr. Harvey also suggests that the cases refusing conflict waivers had “far
more troubling” facts, (Doc. 120 at 28), but he ignores other facts present here
that make his conflict more troubling or that lessen Wheat’s sixth amendment
interests in Mr. Harvey’s representation. For example, the prior representation in
McCutcheon and United States v. Kight, No. 1:16-CR-99-WSD, 2017 WL 4619024, at
*13 (N.D. Ga. Oct. 16, 2017), involved separate civil or criminal matters, but Mr.
Harvey represented a government witness in the identical matter here,
heightening the risk of conflict from relevant confidential information. (Doc. 88 at
13). The defense counsel in Ross, Campbell, and Scott never represented the
government witness but instead had conflicts of interest imputed to them
through their law firms. (Id. at 13). And the defendants in Ross and Scott had a
stronger sixth amendment interest in retaining conflicted counsel because they
had no co-counsel, unlike Mr. Morris’s availability here.
6The courts in U.S v. Parnell, No. 1:13-CR-12, 2013 WL 2387714, at *3 (M.D. Ga.
May 30, 2013); United States v. Casiano, 929 F.2d 1046, 1053 (5th Cir. 1991); and
United States v. Anghai, No. 109CR00037, 2010 WL 11474542, at *1 (N.D. Fla. Nov.
3, 2010) nowhere discuss the court’s independent interest and instead merely
found that the conflict waivers met the Garcia requirements, an issue that is not
contested here. In United States v. Martin, 824 F. Supp. 208, 210 (M.D. Ga. 1993),
the court not only did not address the court’s independent interest, but also
made no ruling on disqualification at all pending a Garcia hearing.
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2007), the district court accepted the conflict waiver because defense counsel had

only an imputed conflict when the government witness was represented by

counsel’s partner; the conflicted counsel was defendant’s only lawyer “since

before the time he was indicted”; the government delayed seven months before

moving for disqualification, by which point conflicted counsel had been

preparing a defense for months; and the government witness had a joint defense

agreement with the defendant and thus had already shared confidences with the

defendant. By contrast, Mr. Harvey personally represented C.S. and received

confidential information from him; Wheat retained Mr. Morris before retaining

Mr. Harvey weeks later; the government raised the issue of Mr. Harvey’s conflict

only twenty days after his notice of appearance; and Mr. Harvey represents that

he has not shared C.S.’s confidences with Wheat. (Doc. 88 at 4; Doc. 120 at 16, 20).

The court’s concerns in Wings are plainly not present here.

   In a final pitch to avoid disqualification, Mr. Harvey contends that Mr. Morris

could cross-examine C.S. as “an additional buffer” to cure the conflict issue.

(Doc. 120 at 20). Not so. Mr. Harvey does not address the reasoning of courts that

rejected this remedy because the conflicted counsel would inevitably be the best

source of information in preparing co-counsel for the cross-examination, and the

court could not forbid co-counsel from such preparation. See Campbell, 491 F.3d at

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1312 (concluding that the district court’s rejection of this remedy on this basis

was “well-reasoned”); Williams, 81 F.3d 1321, 1325 (4th Cir. 1996). In fact, if Mr.

Harvey withheld information from co-counsel and took no role in preparing for

C.S.’s cross-examination, he would violate his duty of loyalty owed to Wheat.

Instead of contesting Campbell’s reasoning for rejecting cross-examination by co-

counsel given the inevitability of shared confidences from the conflicted counsel,

Mr. Harvey instead attempts to distinguish Campbell’s finding of an unwaivable

conflict on its facts, which is both flawed and misses the boat. And Mr. Harvey’s

out-of-district authorities provide no safe harbor.7




   7 The district court in United States v. Hawkins, No. CRIM.A. 04-370-05, 2004
WL 2102017, at *3 (E.D. Pa. Aug. 26, 2004), found no conflict of interest based, in
part, on the lack of any assertion that defense counsel’s representation violated
professional responsibility rules and merely noted that cross-examination by co-
counsel was an “additional reason” not to disqualify counsel. In dismissing an
interlocutory appeal on a conflict issue, the Second Circuit in United States v.
Camisa, 969 F.2d 1428, 1429–30 (2d Cir. 1992) passed no judgment on this remedy
at all, but instead concluded that it was premature to determine the conflict issue.

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                                 CONCLUSION
   For the foregoing reasons and the reasons stated in its initial motion, the United

States respectfully requests that the Court disqualify Bruce S. Harvey as counsel

for Defendant Wheat.



                                      Respectfully submitted,

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April 11, 2018


                                         /s/ N ATHAN P. K ITCHENS

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